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                                     United States District Court
                                     Southern District of Texas
                                          Houston Division
Alexandra Lozano Immigration Law, PLLC               §
                                                     §
versus                                               §           Civil Action 4:24−cv−02190
                                                     §
Meneses Law Firm PLLC, et al.                        §


                                       Official Transcript Filed

An official transcript has been filed. It may have information restricted from public disclosure.
See E-Government Act of 2002, Fed. R. Civ. P. 5.2(a) or Fed. R. Crim. P. 49.1(a).

Ninety days after a transcript has been filed, it becomes electronically available to the public on
PACER. To comply with the rules on privacy, the parties must redact protected information before
then.

If redaction is needed, the parties must file a statement of the items to be redacted. Include the
transcript's docket number and the item's location by page and line. It must be filed within 21 days of
the transcript's having been filed. A suggested form is at www.txs.uscourts.gov.

Only these portions of these data may be visible:

         •   Last four digits of a social security number or taxpayer identification number;
         •   Year of a person's birth;
         •   Initials of a minor's name;
         •   Last four digits of an account number; and
         •   City and state of a home address in criminal cases.

Additional redactions require a separate motion and court approval.

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         •   Opening and closing statements made for that party;
         •   Statements by that party;
         •   Testimony of witnesses called by that party; and
         •   Other parts ordered by the court.

Redaction is your responsibility. The court, clerk, court reporter, or transcriber will not review this
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                                                               Nathan Ochsner, Clerk
